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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 KAZANDRA BARLETTI, individually, as
 natural parent and next friend of A.B.
 and C.B., minors; et al. ,

               Plaintiffs,

                                                Case No. 2:22-cv-04676-JDW
        v.

 CONNEXIN SOFTWARE, INC. d/b/a
 OFFICE PRACTICUM,

               Defendant.


                                            ORDER

       AND NOW, this 13th day of March, 2024, upon consideration of Plaintiffs’ Motion

For Preliminary Approval Of Class Action Settlement (ECF No. 85) and the accompanying

Class Action Settlement And Release (ECF No. 85-3), for the reasons stated in the

accompanying Memorandum, it is ORDERED that the Motion is GRANTED.

       It is FURTHER ORDERED as follows.

       1.     The settlement of this action is PRELIMINARILY APPROVED because it

appears that, at the final approval stage, I will likely be able to approve the settlement

under the criteria described in Federal Rule of Civil Procedure 23(e)(2) and certify the

settlement class under the criteria described in Rules 23(a)(a) and 23(b)(3);

       2.     The following class is PRELIMINARILY CERTIFIED:
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      All individuals whose personally identifiable information or personal health
      information was compromised in the data security incident that Connexin
      discovered on or about August 26, 2022.

      3.       Plaintiffs Kazandra Barletti, individually and as the parent of minors A.B.

and C.B.; Andrew Recchilongo; Sharonda Livingston, individually and as the parent of

minor K.J.; Bradley Hain, individually and as the parent of minors N.H. and T.H.; and

Hailey Jowers, as described more fully in the Consolidated Class Action Complaint filed

in this Action, are provisionally designated and appointed as the Class Representatives;

      4.       I appoint Benjamin F. Johns, Esq. of Shub & Johns LLC and Bart D. Cohen

of Bailey & Glasser, LLP, as Interim Settlement Class Counsel.

      5.       Pursuant to Federal Rule of Civil Procedure 23(e), I approve the Long Form

Notice and the Summary Notice (the “Settlement Notices”), attached as Exhibits B and C,

respectively, to the Settlement Agreement and attached to this Order as Exhibit 1, and

finds that the dissemination of the Settlement Notices substantially in the manner and

form set forth in §§ 6.1-6.3 of the Settlement Agreement complies with the requirements

of Federal Rule of Civil Procedure 23 and due process of law and is the best notice

practicable under the circumstances.

      6.       I approve the Claim Form, substantially similar to Exhibit A to the

Settlement Agreement, which will be available both on the Settlement Website and by

request.




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       7.     I find the Notice procedures described above to be the best means of

providing Notice under the circumstances and, when completed, shall constitute due

and sufficient Notice of the proposed Settlement Agreement and the Final Approval

Hearing to all persons affected by and/or entitled to participate in the Settlement

Agreement, in full compliance with the notice requirements of Federal Rule of Civil

Procedure 23 and due process of law.

       8.     The Parties may modify the Settlement Agreement prior to the Fairness

Hearing if such modifications do not materially change the terms and conditions of the

Settlement. I may approve the Settlement Agreement with any immaterial modifications

to which the Parties agree without further notice to the Settlement Class.

       9.     Within 14 days of entry of this Order, Connexin shall provide to the

Settlement Administrator the contact information of Settlement Class Members that is

currently in Connexin’s possession, including names and physical addresses.

       10.    No later than thirty-five (35) days from Defendant Connexin funding the

Settlement Fund (“Notice Date”), Class Counsel shall cause the Settlement Administrator

to send via U.S. mail the Summary Notice to each Settlement Class Member and shall

cause to be published the Long Form Notice, thereby making it available to the rest of

the Settlement Class as stated in the proposed Notice Plan.

       11.    Contemporaneously with seeking final approval of the Settlement, Class

Counsel and Connexin shall file (or direct filing) with the Court an appropriate affidavit

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or declaration from the Settlement Administrator with respect to complying with the

Notice Plan.

       12.     All costs incurred in disseminating and otherwise in connection with the

Settlement Notices shall be paid from the Settlement Fund.

       13.     The Settlement Notices and Claim Form satisfy the requirements of due

process and of Federal Rule of Civil Procedure 23(e). I therefore approve them for

dissemination to the Settlement Class. The Claims Administrator shall make the Claim

Form available to the Settlement Class as set forth on the Notice Plan, and the Claims

Administrator and Class Counsel shall make a Claim Form available to any potential

Class Member that requests one.

       14.     Settlement Class Members may opt-out or object up to sixty (60) days

from the Notice Date (the “Opt-Out Period”).

       15.     Any members of the Settlement Class who wishes to be excluded (“opt

out”) from the Settlement Class must send a written Request for Exclusion to the

designated Post Office Box that the Settlement Administrator establishes. Any such

request must be postmarked on or before the end of the sixty-day Opt-Out Period.

Members of the Settlement Class may not opt out of the Settlement by submitting

requests to opt out as a group or class but must do so individually and personally sign

and submit a Request for Exclusion. Any Settlement Class Member who opts out of the

Settlement will not be eligible to receive any benefits under the Settlement, will not be

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bound by any further orders or judgments entered for or against the Settlement Class,

and will preserve his or her ability to independently pursue any claims they may have

against Connexin or the other Released Parties.

       16.    Any member of the Settlement Class who does not properly and timely

opt out of the Settlement shall, upon entry of the Order and Final Judgment, be bound

by all the terms and provisions of the Settlement Agreement and Release, regardless of

whether such Settlement Class Member objected to the Settlement and whether such

Settlement Class Member received consideration under the Settlement Agreement.

       17.    I adopt the following schedule for the remaining events in this case, which

ensures that the appropriate state and federal officials are served with the notification

required by the Class Action Fairness Act:

                    Event                                           Date
 Connexin provides CAFA Notice pursuant          Within 10 days after the filing of the
 to 28 U.S.C. § 1715(b)                          Motion for Preliminary Approval
 Connexin to provide contact information         Within 14 days after entry of this Order
 for Settlement Class Members
 Notice Plan commences (“Notice Date”)           Within 35 days after Defendant funding
                                                 the Settlement Fund
 Compliance with CAFA Waiting Period             90 days after the appropriate governmental
 under 28 U.S.C. § 1715(d)                       offices are served with CAFA notice
 Postmark deadline for Requests for 60 days after Notice Date
 Exclusion (opt out) or objections (“Opt-Out
 Deadline” or “Objection Deadline”)

 Deadline to file Plaintiffs’ Motion for         No later than 14 days prior to the Opt-
 Final Approval of the Settlement                Out/Objection Deadline
 Agreement and Motion for Attorneys’
 Fees, Expenses, and Service Awards

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                     Event                                          Date
 Postmark/Filing deadline for members             90 days after Notice Date
 of the Class to file claims



       18.    At the Final Approval Hearing, I will consider (a) the fairness,

reasonableness, and adequacy of the proposed class Settlement and whether the

Settlement should be granted final approval by the Court; (b) dismissal with prejudice of

the Action; (c) entry of an order including the Release; (d) entry of the Final Approval

Order; and (e) entry of final judgment in this Action. Class Counsel’s application for the

Fee Award and Costs, and request for the Court to award a Service Award to the named

Plaintiffs, shall also be heard at the time of the hearing.

       19.    The date and time of the Final Approval Hearing shall be subject to

adjournment and/or continuance without further notice to the members of the

Settlement Class, other than that which the Court might post. Should the Court adjourn

and/or continue the date for the Final Approval Hearing, that shall not alter the

deadlines for mailing and publication of Notice, the completion of the Opt-Out Period,

or the deadlines for submissions of Settlement objections, claims, and notices of

intention to appear at the Final Approval Hearing unless those dates are explicitly

changed by subsequent Order. I may also decide to hold the hearing via Zoom or

telephonically. Instructions on how to appear at the Final Approval Hearing will be

posted on the Settlement Website.

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       20.    Any person who does not elect to be excluded from the Settlement Class

may, but need not, enter an appearance through his or her own attorney. Class

Members who do not timely object or opt out and who do not have an attorney enter

an appearance on their behalf will be represented by Class Counsel.

       21.    Any person who does not elect to be excluded from the Settlement Class

may object to the proposed Settlement. Any Settlement Class Member may object to,

among other things, (a) the proposed Settlement, (b) entry of Final Approval Order and

the judgment approving the Settlement, (c) Class Counsel’s application for Fee Award

and Costs, or (d) the Service Award request, by mailing a written objection, with a

postmark date no later than the Objection Deadline, to Class Counsel and Connexin’s

counsel. The Settlement Class Member making the objection (the “Objector”) or his or

her counsel may also file an objection with the Court through the Court’s Electronic

Court Filing (“ECF”) system, with service on Class Counsel and Connexin’s Counsel made

through the ECF system. For all objections mailed to Class Counsel and Counsel for

Connexin, Class Counsel will file them with the Court with the Motion for Final Approval

of the Settlement.

       22.    The Objector’s objection must be either (a) filed with the Court no later

than 60 days after the Notice Date or (b) mailed to Class Counsel and Connexin’s

Counsel, with a postmark date of no later than 60 days after the Notice Date. To be

valid, the objection must: (a) clearly state the Class Member’s full name, current mailing

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address, and telephone number; (b) include proof that the Class Member is a member of

the Settlement Class (e.g., copy of the settlement notice, copy of the original notice of

the Data Security Incident); (c) identify the specific factual and legal grounds for the

objection; (d) identify all counsel representing the Class Member, if any; and (e) contain

a statement regarding whether the Class Member (or counsel of his or her choosing)

intends to appear at the Final Approval Hearing. All objections must be submitted to the

Settlement Administrator, Class Counsel, and to the Court either by mailing them to

Clerk, United States District Court for the Eastern District of Pennsylvania, 601 Market

Street, Philadelphia, PA 19106; by filing them in person at the Courthouse; or by filing

them on the Court’s CM/ECF system. All objections must be filed or postmarked on or

before the Objection Deadline, as set forth above. Any Class Member who does not

make their objections in the manner and by the date set forth in this Section shall be

deemed to have waived any objections and shall be forever barred from raising such

objections.

       23.    Only Settlement Class Members who have filed and served valid and

timely notices of objection shall be entitled to be heard at the Final Approval Hearing.

Any Settlement Class Member who does not timely file and serve an objection in writing

in accordance with the procedure set forth in the Class Notice and mandated in this

Order shall be deemed to have waived any objection to: (a) the Settlement; (b) the

Release; (c) entry of Final Approval Order or any judgment; (d) Class Counsel’s

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application for fees, costs, and expenses; and (e) the Service Award request for the

named Plaintiffs, whether by appeal, collateral attack, or otherwise.

       24.    Settlement Class Members need not appear at the hearing or take any

other action to indicate their approval of the Settlement.

       25.    Upon entry of the Order and Final Judgment, all members of the

Settlement Class who have not personally and timely requested to be excluded from the

Settlement Class will be enjoined from proceeding against Connexin and all other

Released Parties with respect to all of the Released Claims.

       26.    Connexin shall cause to be prepared and served all notices that the Class

Action Fairness Act of 2005 (“CAFA”) requires, as specified in 28 U.S.C. § 1715. The costs

associated with providing notice under CAFA shall be paid from the Settlement Fund.

Class Counsel and Counsel for Connexin shall cooperate promptly and fully in the

preparation of such notices, including providing Connexin with any and all information

in its possession necessary for the preparation of these notices. Connexin shall provide,

or cause to be provided, courtesy copies of the notices to Class Counsel for the purpose

of implementing the settlement. Connexin shall provide notice to Class Counsel of

compliance with the CAFA requirements within ten days of providing notice to the

appropriate officials pursuant to CAFA.

       27.    I appoint the claims administrator that the parties propose, Epiq Class

Action & Claims Solutions, Inc. (“Settlement Administrator”). The Settlement

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Administrator’s responsibilities include (a) establishing a post office box for purposes of

communicating with Settlement Class Members; (b) disseminating Notice to the Class;

(c) developing a Settlement Website to enable Settlement Class Members to access

documents; (d) accepting and maintaining documents sent from Settlement Class

Members relating to claims administration; and (e) distributing Settlement payments to

Settlement Class Members. Pursuant to the Settlement Agreement, the Settlement

Administrator and Administrative Expenses shall be paid from the Settlement Fund.

       28.    In the event the Settlement Agreement and the proposed Settlement are

terminated in accordance with the applicable provisions of the Settlement Agreement,

then the Settlement Agreement, the proposed Settlement, and all related proceedings

shall, except as expressly provided to the contrary in the Settlement Agreement, become

null and void, shall have no further force and effect, and Settlement Class Members shall

retain all of their current rights to assert any and all claims against Connexin and any

other Released Party, and Connexin and any other Released Parties shall retain any and

all of their current defenses and arguments thereto (including, but not limited to,

arguments that the requirements of Federal Rule of Civil Procedure 23 are not satisfied

for purposes of continued litigation). The Action shall thereupon revert forthwith to its

respective procedural and substantive status prior to the date of execution of the

Settlement Agreement and shall proceed as if the Settlement Agreement and all other

related orders and papers had not been executed.

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       29.    Neither this Order nor the Settlement Agreement nor any other

Settlement-related document nor anything contained herein or therein or contemplated

hereby or thereby nor any proceedings undertaken in accordance with the terms set

forth in the Settlement Agreement or herein or in any other Settlement-related

document, shall constitute, be construed as, or be deemed to be evidence of or an

admission or concession by Connexin as to the validity of any claim that has been or

could have been asserted against it or any other Released Party as to any liability by

them as to any matter set forth in this Order, or as to the propriety of class certification

for any purposes other than for purposes of the current proposed Settlement.

                                                  BY THE COURT:


                                                  /s/ Joshua D. Wolson
                                                  JOSHUA D. WOLSON, J.




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